UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 CASSAVA SCIENCES, INC.,
                                         Civil Action No. 22-cv-9409-GHW-OTW
      Plaintiff,

 v.

 DAVID BREDT; GEOFFREY PITT;
 QUINTESSENTIAL CAPITAL
 MANAGEMENT LLC; ADRIAN HEILBUT;
 JESSE BRODKIN; ENEA MILIORIS; and
 PATRICK MARKEY,

      Defendants.



PLAINTIFF CASSAVA SCIENCES, INC.’S OBJECTIONS TO MAGISTRATE JUDGE
    WANG’S REPORT AND RECOMMENDATION REGARDING DEFENDANTS
           BREDT AND PITT’S MOTION TO DISMISS (ECF NO. 104)


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           Plaintiff, Cassava Sciences, Inc. (“Cassava”), by counsel, pursuant to 28 U.S.C. § 636(b)(1)

and Rule 72(b)(2) of the Federal Rules of Civil Procedure, files the following written objections

to the Magistrate Judge’s Report and Recommendation (“R&R”) (ECF No. 104) to grant

Defendants David Bredt and Geoffrey Pitt’s motion to dismiss.

                                               INTRODUCTION 1

           As set forth in Cassava’s First Amended Complaint (“FAC”) (ECF No. 30), Defendants

Bredt and Pitt spent months calling Cassava a fraud and telling people Cassava relied on fabricated

research and test results in order to “short” positions in Cassava’s stock. As a result of Bredt and

Pitt’s repeated public accusations, investors sold their stock in Cassava, regulators began to

question Cassava, and securities law firms filed lawsuits against Cassava. In order to protect itself

and its reputation, Cassava brought this lawsuit against Bredt and Pitt and other short sellers of its

stock who were actively defaming it.

           Now, more than a year after this case was filed—and without the benefit of a single piece

of discovery—the Magistrate Judge has invoked the mantra of “scientific debate” to bar Cassava

from the courthouse door. But Cassava is not seeking redress for scientific debate. Cassava is

seeking redress for being outright called a fraud, a scam, and a criminal enterprise—for being

accused of “not getting the Theranos memo.” (Ex. 3 to FAC, 8/18/21 Dunn Letter at 1.) These are

defamatory statements of fact. New York law does not allow a defendant to state and imply the

plaintiff committed a crime, even if the defendants are scientists.

                                       OVERVIEW OF ARGUMENTS

           Cassava respectfully requests that this Court reject the Report & Recommendation and

deny Bredt and Pitt’s motion to dismiss. The R&R makes at least nine material factual and legal



1
    Emphasis has been added throughout to quotations and internal citations have been omitted.

                                                           1
errors thereby depriving Cassava of a proper evaluation of its legal claims and theories. First,

contrary to the well-established standards by which a Court is to evaluate a Rule 12(b)(6) motion

to dismiss, the R&R improperly ignores the allegations made in the FAC, assumes the allegations

are not true, and does not draw any reasonable inferences in Cassava’s favor. The R&R wholly

supplants Cassava’s allegations with the Magistrate Judge’s own analysis of the facts and Bredt

and Pitt’s version of events. This is improper and permeates every aspect of the recommendation.

Indeed, the Magistrate Judge not only violated the standard of review for a Rule 12(b)(6) motion,

by drawing inferences and weighing allegations against Cassava, the R&R violated the standard

of review that would be used at summary judgment.

       Second, the R&R fails to address Cassava’s theory of liability against Bredt and Pitt.

Cassava makes clear in the FAC and its Opposition that its claims against the defendants are

predicated on their statements and implications that Cassava is a fraud engaged in criminal

behavior. The Magistrate Judge does not address that theory of liability. Instead, the R&R

characterizes Cassava’s claims as being about “scientific debate” because that fits into the

Magistrate Judge’s conclusion that statements made during a “scientific debate” are not actionable,

which is not the law. But, the merits of Cassava’s claims must be evaluated based on the plaintiff’s

theory of liability, not one manufactured by the defendants or the Magistrate Judge.

       Third, the R&R fails to analyze any single statement or category of statements as pled by

Cassava. The FAC identified over 100 defamatory statements and implications made by Bredt and

Pitt. (See, e.g., FAC 30 ¶¶ 160–280; see also, Appendix A to ECF No. 80 (Cassava’s Opposition

to Bredt and Pitt’s Motion to Dismiss (“Opp’n to MTD”).) The R&R’s failure to evaluate the

statements and implications – standing alone – eliminates any merit of the R&R. The FAC cannot

be dismissed without evaluating each of the defamatory statements and implications. Cassava



                                                 2
suspects that the reason the Magistrate Judge did not evaluate the defamatory statements and

implications alleged in the FAC is because they do not fit neatly into this “scientific debate”

umbrella the R&R uses as its lynchpin.

       Fourth, the R&R does not apply the test for determining whether the statements were

assertions of fact. The R&R recognizes that the proper test for evaluating whether a statement is

“pure opinion” originates with the Milkovich decision, which asks whether the statement can be

demonstrated to be true or false. But the R&R never applies that test to any, let alone each, of the

defamatory statements. As explained in the FAC, and in Cassava’s Opposition, each of the

defamatory statements and implications was demonstrably false and was made in a manner

intended to lead the reader to conclude that it was an assertion of fact. Indeed, Bredt and Pitt

attested that they were making factual statements when they submitted their publications to FDA.

       Fifth, the R&R erroneously seeks to avoid employing the proper test for evaluating whether

statements are “pure opinions” by over-extending a Second Circuit opinion finding that statements

made in the course of “scientific debate” are not actionable. But, Bredt and Pitt did not make their

statements in the course of “scientific debate.” They made their statements in anonymous

whistleblower submissions to FDA to manipulate Cassava’s stock price and profit from it. The

R&R ignores this allegation completely. Moreover, Cassava’s claims against Bredt and Pitt are

not based on anything they said that could be considered “scientific debate.” The claims are

predicated on Bredt and Pitt stating and implying Cassava is a fraud that engaged in fraudulent

behavior. The R&R ignores this critical distinction.

       Sixth, the R&R fails to engage in any analysis whatsoever with respect to whether Bredt

and Pitt’s statements constitute actionable mixed opinion. The Magistrate Judge does not cite the

test for mixed opinion much less engage in that analysis. Even a statement of “opinion” is



                                                 3
actionable if (1) the defendant failed to disclose certain material facts or (2) the facts disclosed by

the defendant are alleged to be false. Here, the FAC includes more than 85 paragraphs identifying

(1) the material facts that Bredt and Pitt failed to disclose and (2) the facts disclosed by Bredt and

Pitt that are false.

        Seventh, the R&R fails to address any of Cassava’s allegations or arguments with respect

to actual malice. The R&R concludes in a short footnote that Cassava failed to allege facts

supporting actual malice because short-selling stock is not sufficient. But that is not what Cassava

alleged in the FAC or argued in Opposition. Far from it. The FAC includes 77 paragraphs and 92

exhibits establishing that Bredt and Pitt knew what they said about Cassava was factually

inaccurate or they acted with reckless disregard for the truth. The R&R does not address any of

those allegations or the evidence.

        Eighth, the R&R also fails to address any of Cassava’ allegations or arguments with respect

to causation. Again, the R&R relegates its analysis of Cassava’s causation allegations to a short

footnote. It does not address either Cassava’s allegations that the statements made by Bredt and

Pitt were defamatory per se, nor does it address Cassava’s allegations regarding the special

damages it incurred as a result.

        Finally, the R&R wrongly concludes that the FAC does not comply with Federal Rule of

Civil Procedure 8 because it is too long. This is an unprecedented finding; and, of course, the

Magistrate Judge cites no case from any court in the country that supports the conclusion. The

FAC identifies each of the defamatory statements and implications at issue. The FAC identifies,

for each statement and implication, why it is factually inaccurate. The FAC then identifies the

allegations and evidence establishing that Bredt and Pitt acted with actual malice. And then,

finally, the FAC alleges the harm that flows from their defamation. The FAC is the length it needs



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to be to plead each element of Cassava’s claims against the defendants, especially in light of the

breadth and scope of the many defamatory statements that they published.

                                       RELEVANT BACKGROUND

         On November 4, 2022, Cassava filed a detailed, comprehensive FAC alleging over 100

specific false and defamatory statements by Bredt and Pitt. (See FAC.) Cassava grouped these

defamatory statements into nine overall defamatory implications. (FAC at ¶¶ 60-123.) Cassava

supported its FAC with exhibits and appendices, both of which it incorporated by reference, to

describe with detail the months-long campaign led by Bredt and Pitt, a neuroscientist and

cardiologist 2 who held short positions in Cassava’s stock. (Id.) The pertinent facts are laid out in

the FAC and Cassava’s Opposition to Bredt and Pitt’s motion to dismiss. (See FAC and Opp’n to

MTD.)

         The FAC and Cassava’s Opposition make clear that Bredt and Pitt were not engaged in

“scientific debate” but were using defamation to drive down the price of Cassava’s stock so they

could profit from their short positions. The gist of their defamatory statements was that Cassava

was a fraud, guilty of doctoring clinical data and lying to investors. For example, Bredt and Pitt

said:

         This letter details a long-standing pattern of seemingly intentional data
         manipulation and misrepresentation in scientific papers and corporate
         disclosures authored primarily by Drs. Hoau-Yan Wang, Associate Medical
         Professor, City University of New York, and Lindsay A Burns, Sr. Vice President
         of Neuroscience at Cassava Sciences. … These apparent falsifications have helped
         garner [over] $5,000,000 in NIH grants for preclinical/clinical studies, attract [over]
         $250,000,000 in public fundraising by Cassava Sciences and misdirect therapeutic
         studies for patients suffering from Alzheimer’s Disease. In the interest of the
         safety of patients with Alzheimer’s disease enrolled in Cassava Sciences’ ongoing
         clinical trials, as well as the NIH and other stakeholders, the biomedical and

2
  Geoffrey Pitt is a cardiologist at Weill Cornell medicine, and not a neuroscientist. This fact was alleged in the FAC
and was not challenged by Defendant Pitt in his Motion To Dismiss. (See FAC ¶13.) That the R&R refers to Bredt
and Pitt as the “Neuroscientist Defendants” is a clear example of its eschewing of the rules applied to deciding motions
to dismiss. See infra Part I.

                                                           5
       financial communities must be made aware of these apparent falsehoods. (Ex. 3 to
       FAC, 8/18/21 Citizen Petition Report (“CPR”) at 3–4.)


                                                ***
       Cassava Science apparently didn’t get the Theranos memo. Their desire to do
       groundbreaking scientific research doesn’t give the company and its executives a
       get out of jail free card from regulators, patients or investors. (Ex. 3 to FAC,
       8/18/21 Dunn Letter at 1.)
                                                ***
       Accordingly, my whistleblower clients would like to report to you their numerous
       concerns about the accuracy and integrity of clinical and preclinical data
       supporting the FDA’s ongoing evaluation of Simufilam. The attached report
       demonstrates an unmistakable pattern of errors and anomalies that consistently
       favor Cassava’s hypotheses and is of a sufficient frequency and magnitude to
       strongly suggest serious scientific misconduct. (Ex. 4 to FAC, 8/30/21 CPR
       Attachment.)

Bredt and Pitt did not publish their statements in a scientific journal, subject to peer review, or

during a scientific conference. Bredt and Pitt published their letters in a manner designed to get

the attention of investors and drive down the stock price.

       Unfortunately, Cassava has not been allowed to pursue its claims for more than a year. On

March 2, 2023, the Defendants sent a letter to Magistrate Judge Wang requesting to stay all

discovery. (ECF No. 83.) Cassava voiced its Opposition to that request in a three-page letter filed

on March 6, 2023. (ECF No. 84.) Two days later, during an initial conference, the Magistrate Judge

remarked that she did not “really want to have a full-blown argument” on the matter, then stated

that she was “not going to rule except to temporarily stay any other discovery other than the meet

and confer on [] preservation notices until [she] actually issue[d] a written order.” (ECF No. 89 at

23, 36.) She further remarked that “discovery [was] currently stayed for a short time until [she]

formally rule[d] on the discovery stay…” (Id. at 37.)

       But a written order never came. The Magistrate Judge took the remarkable step of staying

discovery for nearly a year without ever applying the test required to assess whether discovery

                                                 6
should be stayed or issuing a written order. This was a “pocket veto” of Cassava’s right to pursue

discovery, even when a motion to dismiss is pending. The absence of an order also deprived

Cassava of its right to challenge any recommendation made to this Court. Making matters worse,

Cassava would not hear anything more from the Magistrate Judge for 10 months.

       On January 3, 2024, the Magistrate Judge issued a Report and Recommendation that Bredt

and Pitt’s motion to dismiss be granted in full. (R&R.) In the R&R, the Magistrate Judge

determined, without discussing any of the statements giving rise to the claims at issue, that Cassava

had failed to allege any actionable statements against Bredt and Pitt. (Id. at 21.) Likewise, the

Magistrate Judge, in a single footnote, opined that Cassava had failed to allege actual malice or

causation. (Id. at n. 28.) Last, the Magistrate Judge held that the FAC violates Federal Rule of Civil

Procedure 8 due to its length and the volume of evidence attached to it. (Id. at 22-3.)

                                      LEGAL STANDARDS

       Pursuant to F.R.C.P. Rule 72(b)(2) and 28 U.S.C. § 636(b)(1)(C), parties have the right to

object to a magistrate judge’s recommendation within the allotted fourteen (14) days. Cassava has

timely filed this objection to the R&R.

       When a party makes timely objections to a magistrate judge’s report and recommendation

on a dispositive motion, a district court reviews de novo “those portions of the report or specified

proposed findings or recommendations to which objection is made.” 28 U.S.C. § 636(b)(1)(C); see

also Fed. R. Civ. P. 72(b)(3); Catania v. United Fed. of Teachers, No. 1:21-cv.1257-GHW, 2022

WL 767107, at *1 (S.D.N.Y. Mar. 12, 2022) (citing 28 U.S.C. § 636 (b)(1)(C)). A reviewing court

“may accept, reject, or modify, in whole or in part, the findings or recommendations made by the

magistrate judge.” 28 U.S.C. § 636(b)(1)(C). “The judge may also receive further evidence or

recommit the matter to the magistrate judge with instructions.” Id.



                                                  7
        Here, the R&R recommends dismissing Cassava’s FAC against Bredt and Pitt. (R&R at

22-23.) The recommendation is based upon an improper standard of review, does not properly

apply the framework for determining whether an alleged defamatory statement constitutes fact or

opinion, fails to engage with either case law or allegations as they relate to actual malice and

causation, and improperly uses FRCP 8 to punish Cassava for filing a long complaint. After de

novo review, this Court should deny Bredt and Pitt’s Motion to Dismiss and allow Cassava to

pursue its claims against them.

                                            OBJECTIONS

I.      The R&R improperly ignores the allegations made in the FAC, assumes the
        allegations are not true, and does not draw any reasonable inferences in Cassava’s
        favor.

        To survive a motion to dismiss under Rule 12(b)(6), a complaint need only contain

“sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Aschcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic v. Twombly, 550 U.S. 440, 570

(2007). In making this determination, the Court must “construe all reasonable inferences that can

be drawn from the complaint in the light most favorable to the plaintiff.” Arar v. Ashcroft, 585

F.3d 559, 567 (2d Cir. 2009) (en banc). “The purpose of Rule 12(b)(6) is to test, in a streamlined

fashion, the formal sufficiency of the plaintiff’s statement of a claim for relief without resolving a

contest regarding its substantive merits.” Flynn v. Cable News Network, Inc., 1:21-cv-2587-GHW,

2021 WL 5964129, at *2 (S.D.N.Y. Dec. 16, 2021) (quoting Glob. Network Commc’ns, Inc. v.

City of New York, 458 F.3d 150, 155 (2d Cir. 2006)). Factual issues cannot be resolved on a motion

to dismiss under Rule 12(b)(6). Discovery and evidence is needed.

        Although the R&R states the correct standard for ruling on a Rule 12(b)(6) motion to

dismiss (R&R at 16), it does not apply that standard. Instead, the R&R accepts as true almost none

of the allegations stated in the FAC, but rather weighs evidence and makes the Magistrate Judge

                                                    8
the ultimate arbiter of the facts. Indeed, the R&R concludes: “I have reviewed all of the

Neuroscientist Defendants’ statements and find that their factual statements are accurate

restatements of representations made and data presented by Cassava or its scientists in press

releases and peer-reviewed scientific papers. . .” (R&R at 22.) This is wholly improper in ruling

on a motion to dismiss. See Flynn, 2021 WL 5964129, at *4 (finding that a Report &

Recommendation that found facts contrary to allegations was in error; “Even though the tweets . .

. are evidence . . . the Court cannot weigh evidence in deciding a motion to dismiss.”).

       This error underlies nearly every determination made by the Magistrate Judge in her R&R.

As discussed below, the R&R fails to assume the pleaded facts as true in connection with: (1)

determining the meaning and implication of the defamatory statements (see infra, Section II); (2)

determining whether the statements constitute fact or opinion (see infra, Section IV); (3)

determining whether the disclosed “facts” stated by Bredt and Pitt were accurate (see infra, Section

VI); (4) determining whether Cassava has pled actual malice (see infra, Section VII); and (5)

determining whether Cassava has pled causation (see infra, Section VIII). As this error strikes at

the heart of a Court’s duty in ruling on a 12(b)(6) motion, this Court should reject the R&R and

review the pleadings and motion papers de novo.

II.    The R&R wrongly concludes that it was permissible for Bredt and Pitt to state and
       imply that Cassava is a fraud and has engaged in fraudulent practices.

       Cassava’s FAC expressly alleged that the overall message conveyed by Bredt and Pitt in

their statements was that Cassava is a fraud. (See, e.g., FAC ¶¶ 7–8.) The FAC contains over 100

examples of Bredt and Pitt conveying the message that Cassava is a fraud. (Id. at ¶¶ 160–288.)

Likewise, in the FAC, Cassava specifically alleges that the company is not a fraud, including by

alleging facts that lack any indicia of wrongdoing or manipulation. (Id. at ¶¶ 145–178, 300–301,

361.) At this stage in the case, the Court cannot discredit these factual allegations and must draw


                                                 9
all reasonable inferences in Cassava’s favor. Arar, 585 F.3d at 567. Rather than taking the

allegations in the FAC as true and evaluating each allegedly defamatory statement (or set of

statements) to determine whether it is actionable, the Magistrate Judge appears to have done her

own research into the underlying scientific studies and data, then made a collective judgment call

on all one hundred statements at once.

        The R&R simply ignores the FAC’s allegations. The Magistrate Judge makes the

conclusory remark that Bredt and Pitt did not state that Cassava is a fraud (R&R at 19–20) as if

those precise words needed to be voiced. But what Bredt and Pitt did say included the following:

        Increasingly, evidence suggests that Cassava has doctored its research and clinical
        trial results, duped peer-reviewed journals, used the tainted science to trick the
        NIH and FDA into approving grants and clinical trials, misled investors by touting
        their grants and clinical trials without disclosing their troubling research practices,
        and withheld material information about the true nature of its drug from vulnerable
        Alzheimer’s Disease patients. (Ex. 9 to FAC, 11/17/21 CPL at 1.)
                                                       ***
        As detailed in my Citizen’s Petition and in subsequent filings, including this one,
        their major concern relates to the mounting evidence that Cassava Sciences has
        doctored its research and clinical trial results to dupe peer-reviewed journals and
        to trick the FDA into approving its clinical trials. (Ex. 9 to FAC, 12/8/21 CPL at
        1.)
These statements, along with the 100 other defamatory statements alleged by Cassava, imply that

Cassava is a fraud engaged in fraudulent activity. Fraud is the only conclusion to be drawn from a

comparison to “Theranos” and an accusation of “doctor[ing] research results.” 3 The R&R

improperly ignored the implication created by Defendant Bredt and Pitt’s statements and

Cassava’s allegations showing that their statements and implications were factually inaccurate,




3
 Theranos was a blood testing company based in California. Its executives were indicted in 2018 for wire fraud and
conspiracy to commit wire fraud due to misleading investors about the capabilities of its product. See
https://www.justice.gov/usao-ndca/pr/elizabeth-holmes-sentenced-more-11-years-defrauding-theranos-investors-
hundreds.

                                                       10
See Flynn, 2021 WL 5964129, at *4 (rejecting portion of report and recommendation that weighed

the evidence in assessing falsity).

         The R&R also ignores that there is a long history of legal precedent holding that statements

falsely accusing a plaintiff of fraud or fraudulent activity are actionable. 4 Indeed, the legal concept

of defamation per se rests on the idea that statements that falsely charge a plaintiff with a “serious

crime,” or that tend to “injure the plaintiff in [its] trade, business or profession,” are so inherently

harmful that injury can be presumed. See Nolan v. State of New York, 69 N.Y.S.3d 277, 284 (N.Y.

App. Div. 2018); Kleeberg v. Sipser, 191 N.E. 845, 847 (N.Y. 1934). Here, Bredt and Pitt have

accused Cassava of manipulating research data, “trick[ing] the FDA,” engaging in “scientific

misconduct,” and making “false and misleading statements” to the public and investors. (See, e.g.,

FAC ¶¶ 179(a), 189(a), 161(k), 210(f), 246(a).) The R&R does not meaningfully address the

obvious implication created by these specific statements. Nor does it cite any cases in which

accusations of this nature are held not to be defamatory. The Court should review the pleadings de

novo and find that Cassava adequately pled that Bredt and Pitt stated and implied that Cassava is

a fraud and engaged in fraudulent practices.




4
  See Levy v. Nissani, 115 N.Y.S.3d 418, 421–22 (N.Y. App. Div. 2020) (Lender’s statements that borrowers were
“thieves” and “con artists,” viewed in context in which statements were made, could readily be understood to have
precise meaning capable of being proven true or false, and thus statements constituted assertions of fact, as necessary
for statements to be actionable as subject of defamation action; reasonable listener would likely have understood
statements, which were made before entire synagogue congregation, as implying that borrowers swindled lenders out
of money in connection with their business.); Restis v. Am. Coal. Against Nuclear Iran, Inc., 53 F. Supp. 3d 705, 721–
22 (S.D.N.Y. 2014) (Defamatory statements published on Facebook and Twitter, as well as statements made in press
releases, calling for action to stop not-for-profit shipping company from alleged scheme could indeed be actionable
in defamation suits); Coliniatis v. Dimas, 848 F. Supp. 462, 467–68 (S.D.N.Y. 1994) (Letter written by law firm to its
client was not “opinion” under First Amendment and thus was not exempt from state libel law, since letter addressed
area of public concern by discussing possibility that client’s employee was engaging in illegal scheme to defraud
client.).

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III.   The R&R wrongly concludes that Cassava cannot state a claim without addressing
       all of the defamatory statements and implications that Cassava identified.

       The law requires only a single false statement or implication to sustain a defamation claim.

See, e.g., Daytree at Cortland Square, Inc. v. Walsh, 332 F. Supp. 3d 610, 630 (E.D.N.Y. 2018)

(denying motion to dismiss defamation claim, rejecting Defendants’ argument “that Plaintiffs

challenge a single defamatory statement”). Here, Cassava has identified over 100 statements by

Bredt and Pitt that are defamatory, organizing them into nine overarching categories based on the

defamatory implication the statements convey. (See FAC ¶¶ 160–280; see also Appendix A to

Opp’n to MTD, ECF No. 80-1.) Those implications include that Cassava is a fraud, that Cassava

engaged in scientific misconduct, and that Cassava “doctored” its research. (Id; see also Opp’n to

MTD at 9–12.) Because of the sheer number of statements at issue in this case, Cassava was careful

not only to identify the specific defamatory statements at issue in the FAC, but also to categorize

and analyze those statements using appendices attached to its opposition papers. (See Appendices

to Opp’n to MTD, ECF Nos. 80-1, 80-2.) Cassava also provided the Court with specific examples

of statements made by Bredt and Pitt that were demonstrative of their other statements and

overarching narrative. (See Opp’n to MTD at 4-8, 10.)

       Indeed, Cassava went to great lengths to address the Defendants’ defamatory statements in

this case because assessing a defamation claim requires a close, statement-by-statement analysis.

Courts deciding whether a statement is capable of defamatory meaning are tasked with analyzing

statements by examining both the specific language used and the broader context in which they

are made. See Gross v. New York Times Co., 623 N.E.2d 1163, 1167 (1993); Greenberg v. Spitzer,

132 N.Y.S.3d 601, at *17-18 (N.Y. Sup. Ct. 2020). Put differently, a Court hearing a motion to

dismiss a defamation claim is required to meaningfully engage with and analyze the statements

giving rise to that claim. See Biro v. Conde Nast, 883 F. Supp. 2d 441, 458 (S.D.N.Y. 2012) (“Thus,


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as courts typically do in such cases, the Court will evaluate each allegedly defamatory statement

(or set of statements) and determine whether it is actionable, granting dismissal of claims based on

nonactionable statements and denying dismissal with respect to claims based on actionable

statements.”); Solstein v. Mirra, 488 F. Supp. 3d 86, 95 (S.D.N.Y. 2020) (same); Germain v. M&T

Bank Corp., 111 F. Supp. 3d 506, 534 (S.D.N.Y. 2015) (same).

       The R&R, however, does not engage with any of the Defendants’ statements in

determining that Cassava has failed to state a claim. It does not address a single category of

statements, let alone all of them. This alone undermines the merit of the R&R. The core function

of the court when addressing defamation claims is to evaluate each of the alleged defamatory

statements to determine if the complaint includes allegations supporting a claim based on the

defamatory statement. If so, even for just one statement, the motion to dismiss is denied. And,

then, after evaluating the individual statements, the court must evaluate whether the statements

support a defamatory implication and whether the complaint includes allegations support a claim

based on the defamatory implication. If so, even for just one implication, the motion to dismiss is

denied. Here, the R&R did not perform any of this analysis so Cassava’s claims must be reviewed

de novo by this Court.

       Instead of performing the required statement-by-statement analysis, the Magistrate Judge

offers her own interpretation of the statements as a whole that is inconsistent with the implications

they actually conveyed and inconsistent with the theory of liability alleged by Cassava. The R&R

characterizes the Defendants’ statements as a “measured and nuanced series of inferences . . .

namely, that the research may be unreliable.” (R&R at 19–20 (emphases added).) But a review of

the actual underlying statements shows that there is nothing “measured and nuanced” about them,

and that they were expressing certainty, not possibility. For example:



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       Our recent re-inspection of the Methods section for this crucial experiment shows
       seemingly irrefutable evidence of data manipulation/fabrication. (FAC ¶ 174(l).)
                                                ***
       The methodology allegedly used in these experiments defies logic, and the data
       presented again have hallmarks of manipulation. (FAC ¶ 189(a).)
                                                ***
       As detailed in my Citizen’s Petition and in subsequent filings, including this one,
       their major concern relates to the mounting evidence that Cassava Sciences has
       doctored its research and clinical trial results to dupe peer-reviewed journals and
       to trick the FDA into approving its clinical trials. (FAC ¶ 161(fff).)
                                                ***
       [T]he scientific community has identified countless red flags that call into question
       the accuracy and integrity of Wang’s research. In fact, some scientific integrity
       experts (see below) have suggested that most of his published research has data that
       appears to be “deliberately falsified or fabricated.” (FAC ¶ 227(b).)
These are just a few examples. The point is not simply that these examples undermine the

Magistrate Judge’s attempt to provide an innocent gloss to Bredt and Pitt’s actions. The point is

that these are a few examples of the defamatory statements that the Magistrate Judge failed to

individually analyze as required.

IV.    The R&R wrongly concludes that everything Bredt and Pitt published was opinion
       without engaging in the proper analysis.

       The R&R finds in broad strokes that Bredt and Pitt’s statements are “statements of opinion,

specifically inferences drawn from facts and data presented by Cassava.” (R&R at 21.) Based on

this factual conclusion, which is inconsistent with the allegations in the FAC and represents the

Magistrate Judge’s improper opinion on a disputed issue of fact, the Magistrate Judge recommends

that Cassava’s case against Bredt and Pitt be dismissed in its entirety. (Id. at 22.) The Magistrate

Judge does so even though the FAC includes over 100 different defamatory statements, made at

different times, and in different publications. The Magistrate Judge’s approach is, of course,




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wrong. Although the R&R states the correct test for examining whether a statement is one of

opinion, the Magistrate Judge failed to apply that test to the facts as alleged in the FAC.

         To start, and before addressing the legal framework that should have been applied, the

R&R is predicated on a disputed issue of fact that the Magistrate Judge resolved in favor of Bredt

and Pitt. The Magistrate Judge concluded that the Bredt and Pitt’s statements were “inferences

drawn from facts and data presented by Cassava.” (R&R at 21.) That is not what Cassava

alleges. Cassava alleges that the statements made by Bredt and Pitt were not reasonable

inferences from the facts and data presented by Cassava. (FAC ¶¶ 175-178.) The Magistrate

Judge ignored Cassava’s allegations and resolved this disputed issue of fact against Cassava

—thereby serving as the ultimate finder of fact even though this is a motion to dismiss and

discovery had not taken place. This error alone requires a de novo review of Cassava’s claim.

         Now, turning to the legal error, the traditional test, as stated by the Supreme Court in

Milkovich v. Lorain Journal, 497 U.S. 1, 11–14 (1990) looks at four factors: “(1) the specific

language used; (2) whether the statement is verifiable; (3) the general context of the statement; and

(4) the broader context in which the statement appeared.” R&R at 18, quoting Milkovich, 497 U.S.

at 9 (internal quotations omitted). 5 The critical factor here is whether the statements are verifiable.

See, e.g., Coliniatis v. Dimas, 848 F. Supp. 462, 467–68 (S.D.N.Y. 1994) (rejecting motion to

dismiss on the grounds of non-actionable opinion where the alleged statements were capable of

being proven false); Held v. Pokorny, 583 F. Supp. 1038, 1040 (S.D.N.Y. 1984) (“Accusations of




5
  This test is substantively identical to the one articulated by the New York Supreme Court in Gross v. New York
Times, Co., 623 N.E.2d 1163, 1167 (1993) which requires courts applying New York law to examine: (1) whether the
specific language at issue has a precise meaning which is readily understood, (2) whether the statements are capable
of being proven true or false, and (3) whether either the full context of the publication or the broader social context
and surrounding circumstances “signal [to] readers . . . that what is being read . . . is likely to be opinion, not fact.”

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criminal or unethical activity . . . are expressions of fact, as are allegations relating to one’s

professional integrity that are susceptible of proof.”).

       The R&R never evaluates whether the statements and implications made by Bredt and Pitt

are actionable based on these four factors, thereby failing to engage in the analysis set forth by the

U.S. Supreme Court and New York Supreme Court. First, the R&R never addresses the “specific

language” used in the defamatory publication. The “specific language” used by Bredt and Pitt

supports a finding that the defamatory statements are actionable because Defendants repeatedly

stated and implied that Cassava is a criminal enterprise committing fraudulent behavior. Cassava

made this point in its Opposition, but the Magistrate Judge does not address the analysis at all.

       Second, the R&R never addresses whether the defamatory statements are “verifiable.” If

the Court engages in the proper analysis and looks at each statement to determine whether or not

it is verifiable, the statements’ proper treatment as fact becomes clear. As explained in Cassava’s

Opposition, Bredt and Pitt stated and implied that Cassava’s underlying research had been

doctored and manipulated. (See, e.g., Opp’n to MTD at 13; FAC ¶¶ 161, 174, 179, 189, 197.) That

either happened, or it did not. The statements are either verifiably true, or not. Cassava should be

permitted to prove that this fraud and manipulation did not occur.

       Third, the R&R only briefly addresses the “context” in which Bredt and Pitt made the

defamatory statements—and that analysis again supplants the Magistrate Judge’s interpretation of

the facts for the facts that were pled. Bredt and Pitt made these statements in a context that would

tell a reasonable reader that they were making factual assertions about Cassava. As pled in the

FAC and set forth in Cassava’s Opposition, Bredt and Pitt published their accusations in official

petitions to the FDA, told readers that their accusations were based on “investigations” and

“evidence,” defended their accusations after Cassava attempted to correct the record, repeated their



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accusations in multiple petitions, and asked FDA to investigate Cassava based on the accusations.

(Opp’n to MTD at 13-14, citing FAC ¶¶ 374–37, 379, 381.) 6 The R&R does not engage with any

of these allegations in determining whether Bredt and Pitt’s statements should be treated as fact.

That was error.

         Finally, Cassava pled and pointed out in its Opposition that readers’ reactions to Bredt and

Pitt’s accusations provided evidence that they were understood as fact, not opinion. (See Opp’n to

MTD at 14–15.) Investors who read the accusations traded stock based on them, journals and

academic institutions began investigations based on them, and law firms filed securities fraud

claims against Cassava citing to Bredt and Pitt’s accusations as “facts” that should have been

disclosed. (Id. citing FAC ¶¶ 369, 371-373, 434.) 7 Again, the R&R does not accept these

allegations as true (as it must), nor does it factor them into its analysis of whether Bredt and Pitt’s

accusations should be treated as fact, rather than opinion. A de novo review of the allegations,

utilizing the proper framework, will show that the accusations were not protected opinions, but

were factual accusations that constitute defamation per se.

V.       The R&R improperly expands ONY to create new law and new immunity for attacks
         on companies engaged in science.

         Rather than engage in each aspect of the test required by Milkovich, the R&R relies

principally on the Second Circuit case of ONY, Inc. v. Cornerstone Therapeutics, Inc., 720 F.3d



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  Indeed, in making their submission to the FDA, Bredt and Pitt attested, per 21 CFR § 10.30, that they were providing
a statement of the “factual and legal grounds” on which they relied. See 21 CFR § 10.30(b)(3), requiring “A full
statement, in a well-organized format, of the factual and legal grounds on which the petitioner relies, including all
relevant information and views on which the petitioner relies, as well as representative information known to the
petitioner which is unfavorable to the petitioner's position.”

7
  At least one district court judge understood Bredt and Pitt to be making statements of fact. In the securities fraud
litigation, In re Cassava Sciences, Inc. Securities Litig., No. 1:21-cv-00751-DAE (W.D. Tex.), the Court found that
the accusations by Bredt and Pitt, at least at the motion to dismiss stage, constituted allegations of fact sufficient to
satisfy the heightened pleading standards of the PSLRA. Order Granting in Part and Denying in Part Defendants’
Motion to Dismiss, dated May 11, 2023, In re Cassava Sciences, In. Securities Litig. (R&R).


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490 (2d Cir. 2013), to find that because Bredt and Pitt’s statements related to scientific data, they

are necessarily non-actionable opinion. (R&R at 18–19.) But ONY did not replace a century of

defamation law to create carte blanche immunity for publishers who attack others engaged in a

scientific endeavor. Rather, the exception to the traditional fact/opinion analysis set forth in ONY

is very narrow. At issue in ONY was “when a statement in a scientific article reporting research

results” could be actionable. 720 F.3d at 492. The Court thus found only that “statements of

scientific conclusions about unsettled matters of scientific debate”—in that case whether one drug

was more efficacious than another—would be protected when presented in publications directed

to the relevant scientific community. Id. (emphasis added).

       The Second Circuit’s rationale for this holding underscores its limited reach. It was

concerned that “[m]ost conclusions contained in a scientific journal article are, in principle,

capable of verification or refutation by means of objective proof,” yet “it is the essence of the

scientific method that the conclusions of empirical research are tentative and subject to revision”

such that treating “inferences about the nature of reality” (which are in theory verifiable) as

statements of fact would lead courts into refereeing scientific controversies. Id at 496–97 (citation

and quotations omitted). Tellingly, the Second Circuit noted that such statements “are presented

in publications directed to the relevant scientific community, ideally in peer-reviewed academic

journals that warrant that research approved for publication demonstrates at least some degree of

basic scientific competence.” Id.

       The Second Circuit’s justification for its holding demonstrates that ONY has no relevance

here, and it was error for the R&R to rely on it. The defamatory statements were not made in a

peer-reviewed academic journal to advance scientific debate, they were made by short sellers in

anonymous whistleblower submissions to FDA and included re-publications of accusations made



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by other defendants posted on Twitter and the internet. Nor were they inferences about the

scientific conclusions to be drawn from the analysis of experimental data. Rather, the statements

at issue impugn the motives and integrity of Cassava and accuse it of intentional wrongdoing. The

cover letter to the initial Citizen’s Petition makes this distinction plain:

        Cassava Science apparently didn’t get the Theranos memo. Their desire to do
        groundbreaking scientific research doesn’t give the company and its executives a
        get out of jail free card from regulators, patients or investors.
(FAC Ex. 3 at 1; see also FAC ¶ 161(bbb) (stating Cassava had “fabricated pre-clinical and

clinical evidence across the entire simufilam program, provided inadequate and unreliable

safety studies for simufilam, and engaged in serious misconduct in the analysis of and reporting

of clinical trial data.”).) This is not a scientific hypothesis that must be refereed by the scientific

community, nor is it a “debate” about scientific data. This is an accusation of criminal

wrongdoing. Cassava denies it. The Court is capable of determining whether or not it is true. 8 It

would be reversible error to allow the R&R’s conclusion that ONY grants “opinion” immunity to

any publisher who attacks a plaintiff engaged in a scientific endeavor to stand.

VI.     Even if the R&R correctly finds Bredt and Pitt’s accusations to be opinion, it errs by
        applying the wrong standard on a motion to dismiss to conclude that they are not
        actionable mixed opinion.

        Even if Bredt and Pitt’s statements could be considered opinion, their statements would

nonetheless be actionable because they constitute actionable “mixed opinion.” Under New York

law, defamatory statements that may otherwise qualify as opinion are considered actionable if (1)

the underlying facts in the publication are false or (2) a reader is led to believe that the opinion is

based on undisclosed facts. Restis v. Am. Coal. Against Nuclear Iran, Inc., 53 F. Supp. 3d 705,


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  Other courts examining ONY have likewise found it distinguishable outside of its narrow bounds. See, e.g., Eastman
Chem. Co. v. Plastipure, Inc., 775 F.3d 230, 235 (5th Cir. 2014) (defamatory statements were not protected where
they were not made in a peer-reviewed journal and were directed to consumers, not scientists); Mimedx Group, Inc.
v. Osiris Therapeutics, Inc., 2017 U.S. Dist. LEXIS 114105 (S.D.N.Y. July 21, 2017)(same); Solys Med., LLC v.
Organogensis, Inc., No. 4:18cv30, 2018 WL 10579659, at *5 (E.D. Va. Dec. 12, 2018) (same).

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723 (S.D.N.Y. 2014); Gross, 623 N.E.2d at 1168. Here, the FAC contains dozens of allegations

establishing that (1) the underlying facts in the publication are false and (2) Bredt and Pitt did not

disclose material facts in the citizens petitions. These allegations are laid out in detail in Cassava’s

Opposition (Opp’n to MTD at 16-18).

        The R&R did not engage in the analysis necessary to determine whether one or more of

the defamatory statements and implications were actionable as “mixed opinion.” First, the R&R

ignores the allegations showing that Bredt and Pitt failed to disclose material facts in their

publications. The FAC includes a section titled “Failure to Disclose Facts,” which identifies

twenty-eight different material facts that Bredt and Pitt failed to disclose when they published their

defamatory statements and republished the defamatory statements of the other defendants. (FAC

¶¶ 387–417.) The R&R does not, because it cannot, identify any instance of Bredt and Pitt

disclosing the material facts that Cassava alleged were not disclosed. Even if Defendants’

statements were considered “opinion,” which they were not as a matter of law, they are still

actionable “mixed opinion” because Defendants failed to disclose other material facts. (See id.)

        Second, in a recurring theme, the Magistrate Judge overruled Cassava’s allegations that the

underlying facts disclosed by Bredt and Pitt were false. In the R&R, the Magistrate Judge

concludes that she has “reviewed all of [Bredt and Pitt]’s statements and find that their factual

statements are accurate.” (R&R at 22-23.) 9 This is wholly improper, and remarkably so. The FAC

includes detailed allegations explaining why the statements made by Bredt and Pitt were not

accurate. (FAC ¶¶ 160–280.). In ruling on a 12(b)(6) motion to dismiss, the Court must accept the

pleaded facts as true and draw every reasonable inference in favor of the plaintiff. Arar, 585 F.3d




9
 The R&R does not cite to the principle of “mixed opinion,” making it unclear whether the Magistrate Judge
considered it. To the extent the test was not even considered, that, too, was error.

                                                       20
at 567. The R&R does the exact opposite—replacing Cassava’s allegations with the Magistrate

Judge’s interpretation of the facts.

VII.   The R&R fails to address any of Cassava’s allegations or arguments concerning
       actual malice.

       Cassava recognizes the legal significance of the holding in N.Y. Times Co. v. Sullivan, 376

U.S. 254, 283 (1964)—that actual malice is necessary for pleading defamation of a public figure—

which is why it spent no less than thirty-one pages of its FAC, as well as numerous exhibits

incorporated therein, illustrating how the Defendants, including Bredt and Pitt, acted with actual

malice in their defamation campaigns against Cassava.

       Puzzlingly, the Magistrate Judge relegated the element of actual malice to a single footnote

containing no substantive legal analysis. (See R&R at n. 28.) The footnote states matter-of-factly

(albeit, inaccurately) that “[p]leading that the Neuroscientist Defendants are short sellers is

insufficient to plead that the Neuroscientist Defendants knew that the CP and its follow up letters

were false or made with reckless disregard for their falsity.” Although motive to defame alone is

insufficient, a “plausible inference of reckless disregard is strengthened” when the defendant “had

reason to be personally biased against” the plaintiff. Palin v. New York Times Co., 940 F.3d 804,

814–15 (2d Cir. 2019). And yet, Cassava pled far more than mere short-selling. In reality, as

Cassava stated in its Opposition to Bredt and Pitt’s Motion to Dismiss, “improper motive—to

deflate Cassava’s stock price—is just the tip of the iceberg.” (Opp’n to MTD at 7.)

       The FAC describes seven separate categories of examples of Defendants acting with actual

malice, including: (i) improper motive (inclusive of Defendants’ short positions on Cassava’s

stock), (ii) lack of evidence to support their false inferences and statements, (iii) knowledge of

information that contradicted their false inferences and statements, (iv) common knowledge in the

scientific community, (v) purposeful avoidance of the truth, (vi) that their false inferences and


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statements were inherently improbable, and (vii) the repetition and republication of their false

inferences and statements. (FAC ¶¶ 289-365.) The R&R did not engage with any of these grounds

and instead noted that one subsection of one of them (namely short-selling, included under

improper motive) equated to failure to plead. The R&R’s failure even to acknowledge Cassava’s

allegations of actual malice—much less engage with them—means the Court should review the

issue de novo; and, in doing so, the Court will find the allegations sufficient by any measure.

        For example, knowledge of information that contradicts or undercuts a defamatory

statement is sufficient to establish actual malice. Palin, 940 F.3d at 813. Bredt and Pitt published

their defamatory statements in five factual submissions made to the FDA. After the first

defamatory publication on August 18, 2021, Cassava issued multiple press releases responding to

the allegations and providing corrective information. Five separate academic journals then

reviewed articles highlighted by Bredt and Pitt and found no evidence of data manipulation. Still,

Bredt and Pitt continued their defamatory campaign. This alone establishes reckless disregard for

the truth sufficient to overcome a motion to dismiss. See id. (actual malice plausible where reporter

“reviewed, edited and approved the publication of numerous articles confirming” falsity of

defamatory statement). The R&R does not address this analysis, or any of the actual malice

analysis, at all.

VIII. The R&R fails to address any of Cassava’s allegations or arguments concerning
      causation.

        Similar to its treatment of Cassava’s actual malice allegations, the R&R relegates its

discussion of causation to a footnote, finding that “the [F]AC’s conclusory assertions of causation

are also insufficient.” (R&R at 21–22, n. 28.) But, as set forth in Cassava’s Opposition (Opp’n to

MTD) the FAC’s assertions of causation are not conclusory.




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       First, the FAC pleads that Bredt and Pitt’s statements were defamatory per se. A statement

is defamatory per se—and does not require proof of special damages—if it (1) charges “plaintiff

with a serious crime,” or (2) tends “to injure the plaintiff in [its] trade, business, or profession.”

Nolan, 69 N.Y.S.3d at 284. As alleged in the FAC, and explained in the Opposition, the statements

made by Bredt and Pitt clearly fit this bill. The R&R does not engage with this analysis because,

as discussed above, it disregards Cassava’s allegations and does not assume them to be true. (See

infra Section I.) This error is fatal not only to the R&R’s recommendation regarding whether the

statements were defamatory, but also its recommendation as to causation.

       Second, even if the statements were not defamatory per se (they are), the R&R does not

address the special damages alleged by Cassava in its FAC. The FAC alleges that Cassava’s

enterprise value declined because of Bredt and Pitt’s statements and Cassava incurred specific out-

of-pocket expenses and losses because of their statements. (FAC ¶¶ 433–38.) The Opposition

contains case law setting forth that such diminution in property value constitutes special damages.

(Opp’n to MTD at 22, citing Cromarty v. Prentice-Hall, Inc., 421 N.Y.S.2d 603, 604–05 (N.Y.

App. Div. 1979).) Again, the R&R fails to engage with these allegations and argument. This is an

error and should be reviewed de novo by this Court.

IX.    The R&R wrongly concludes, in an unprecedented manner, that the FAC did not
       satisfy Rule 8.

       Respectfully, as signaled by the Magistrate Judge’s pocket veto of Cassava’s right to

engage in discovery, Cassava is concerned that the R&R was written to reach a preordained

outcome as opposed to evaluating its allegations using the proper standard and legal tests. The

R&R ignores the allegations made in the FAC about falsity and replaces them with the Magistrate

Judge’s personal interpretation of Cassava’s research and data. The R&R does not evaluate

Cassava’s theory of liability or the defamatory statements made by Bredt and Pitt, but instead


                                                 23
recharacterizes the totality of Cassava’s FAC as being about a “scientific debate.” The R&R does

not apply the legal tests for evaluating whether a statement is “pure opinion” or “mixed opinion,”

but instead extends ONY beyond recognition. The R&R ignores dozens of allegations about actual

malice and causation and relegates these important issues to a dismissive footnote. The R&R reads

as if Cassava is being punished for having the audacity to defend its reputation after Bredt and Pitt

called it a fraud who did not get the “Theranos memo.”

       The R&R’s final conclusion, on Rule 8, reinforces Cassava’s concern. First, the Magistrate

Judge’s conclusion is a gross distortion of the FAC. The Magistrate Judge says the FAC merely

concludes that “nearly everything Bredt and Pit said” is inaccurate. That is not a fair, objective, or

remotely accurate description of the FAC. The first section of the FAC identifies with particularity

the defamatory statements by category and then explains with factual allegations why each is false.

(FAC ¶¶ 160–280.) This section is long because there are many false statements and many reasons

as to why they are factually inaccurate. The second section identifies with particularity why each

defendant acted with actual malice. (Id. at ¶¶ 289–365.) Here the FAC discusses the categories of

actual malice, including allegations supporting the categories and citations to the exhibits that

support each conclusion. The third section describes why Defendants’ statements were not

protected opinions, but rather defamatory statements of fact which would be understood as such

by the reasonable reader. (Id. at ¶¶ 366–422). Finally, the FAC sets forth the damages Cassava

incurred as a result of the defamatory statements. (Id. at ¶¶ 423–38.)

       Not only does the FAC provide a clear roadmap to Cassava’s claim, but Cassava’s

Opposition also separately broke down these statements, using appendices to show where in the

FAC to find the allegations that show falsity and actual malice for each. (See Appendices to Opp’n

to MTD.) Cassava provided the appendices to make it easier for the Court to evaluate the merits



                                                 24
of the defamatory statements and Cassava’s allegations supporting a claim for each of the

defamatory statements. The FAC is long because Defendants’ defamation was so prolific and

because Cassava has multiple grounds to support each claim. But, length and volume is not

improper. Rule 8 does not arbitrarily restrict the length of a plaintiff’s complaint. See Shomo v.

State of New York, 374 Fed. App’x 180, 182 (2d Cir. 2010) (“The jurisprudence involving Rule 8

. . . is difficult to apply to the dismissal of a complaint containing too much detail.”).

        Second, the only “precedent” cited by the Magistrate Judge for criticizing Cassava’s FAC

is irrelevant. The R&R cites United States v. International Longshoremen’s Association, 518 F.

Supp. 2d 422, 464 (E.D.N.Y. 2007) (“ILA”) to support a contention that “simply pointing to [a]

complaint and attached documents without identification of which allegations apply to which

person and for what reason does not provide the type of notice required.” (Id. at 22, n 31.) In that

case, the court was concerned not with length, but with how the defendant would answer the

complaint because it incorporated “voluminous factual allegations” from outside complaints and

indictments. That problem is not present here because Cassava does not cite or incorporate by

reference allegations made in other cases. Instead, the FAC carefully details the defamatory

statements made by each of the defendants. 10

                                                CONCLUSION

For the foregoing reasons, Plaintiff Cassava Sciences, Inc. respectfully requests that the Court

reject the R&R and deny Defendants Bredt and Pitt’s Motion to Dismiss.




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   The R&R also cites Georgia High School Association v. Waddell, 248 Ga. 542, 542 (1981), to support the conclusion
that Cassava did something wrong by filing a lengthy complaint. This citation makes no sense. That case was about
staying a trial court’s order cancelling a high school football game. It had nothing to do with FRCP 8 (or a state
equivalent), nor what should be included in a complaint alleging defamation. This citation shows the Magistrate Judge
stretching to find any support for the R&R’s conclusion against Cassava.


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Dated: January 17, 2024   Respectfully submitted,
                          CASSAVA SCIENCES, INC.

                          By its attorneys,

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                                CERTIFICATE OF SERVICE
        I, Erik Connolly, hereby certify that a copy of the foregoing Objections to Magistrate Judge
Wang’s Report & Recommendation (ECF No. 104), filed through the CM/ECF system, will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) on January 17, 2024.


Dated: January 17, 2024                                      /s/ J. Erik Connolly




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